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         Exhibit D-12
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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

                                      :
SUSAN BYRNE,                          :
    Plaintiff                         :
                                      :      CIVIL CASE NO.: 3:17-cv-01104 (VLB)
v.                                    :
                                      :
YALE UNIVERSITY,                      :
     Defendant                        :      DECEMBER 30, 2019
                                      :

                      DEFENDANT’S MOTION IN LIMINE TO PRECLUDE
                         TESTIMONY OF EXTERNAL REVIEWERS

      Defendant Yale University (“Yale”) hereby moves in limine to preclude

testimony of 9 professors from other institutions whom Plaintiff has listed as

potential witnesses on the issue of her damages.        Several of these potential

witnesses were external reviewers of Plaintiff’s scholarship for purposes of Yale’s

consideration of Plaintiff for tenure, and their involvement was limited solely to

reviewing her scholarship and submitting written letters stating their views of such

scholarship. Indeed, all 9 of these professors were disclosed for the first time on

December 13, 2019, as having some knowledge relevant to Plaintiff’s damages;

because of this very late disclosure, however, Defendant has had no opportunity

to explore in discovery what knowledge of Plaintiff’s damages each one has or is

believed to have.

      By listing the external reviewers and professors from other universities as

potential witnesses on damages issues, it appears Plaintiff intends to convert them

into quasi-expert witnesses who might opine as to reputational damages she has

allegedly suffered.    Such testimony would be improper because the external
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reviewers were never disclosed during discovery as potential witnesses to

Plaintiff’s damages, much less were they disclosed as expert witnesses, and all

they could offer would be impermissible lay opinion. Fed. R. Evid. 701.

Conclusion

         For all these reasons, Defendant Yale University respectfully moves to

preclude testimony from Professors Burningham, Cascardi, Cruz, de Armas,

Folger, Gaylord, Grieve, Santo-Tomas, and Weber regarding Plaintiff’s damages.1




1   Although Plaintiff has listed these potential witnesses on only the issue of her

damages, and thus this Motion is focused on their potential testimony regarding

damages, Defendant also would object to any of these witnesses, including but

not limited to those who served as external reviewers of Plaintiff’s scholarship,

testifying as to their views of her tenure case. The external reviewers submitted

letters to Yale that were reviewed as part of the tenure case, and any testimony,

beyond that which was stated in the letters, would be irrelevant because it was

not information known to or considered by Yale in its tenure review. Fed. R. Evid.

402, 403.



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                             DEFENDANT,
                             YALE UNIVERSITY

                       By:   /s/ Victoria Woodin Chavey
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                               CERTIFICATION OF SERVICE

                  I hereby certify that on December 30, 2019, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by operation

of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.



                                                /s/ David C. Salazar-Austin
                                                David C. Salazar-Austin




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